Case 17-82896   Doc   Filed 08/25/20   Entered 08/25/20 13:35:30   Desc Main
                          Document     Page 1 of 7
Case 17-82896   Doc   Filed 08/25/20   Entered 08/25/20 13:35:30   Desc Main
                          Document     Page 2 of 7
              Case 17-82896               Doc       Filed 08/25/20 Entered 08/25/20 13:35:30 Desc Main
                                                        Document        Page 3 of 7
                                                          SN Servicing Corporation          Final
                                                             323 FIFTH STREET
                                                            EUREKA, CA 95501
                                                         For Inquiries: (800) 603-0836
                                             Main Office- NMLS ID #5985, Branch Office- NMLS ID #9785
     Analysis Date: August 20, 2020

     BRIAN PERINA                                                                                                       Loan:
     SUZANNE PERINA
     1811 RIVER TERRACE DR                                                                   Property Address:
     JOHNSBURG IL 60051                                                                      1811 WEST RIVER TERRACE DRIVE
                                                                                             JOHNSBURG, IL 60050



                                                Annual Escrow Account Disclosure Statement
                                                             Account History

     This is a statement of actual activity in your escrow account from July 2020 to Sept 2020. Last year's anticipated activity
     (payments to and from your escrow account) is next to the actual activity.

Payment Information                  Current:      Effective Oct 01, 2020:                  Escrow Balance Calculation
 Principal & Interest Pmt:                 550.32                  550.32                   Due Date:                                        Oct 01, 2019
 Escrow Payment:                           392.57                  391.83                   Escrow Balance:                                    (3,485.40)
 Other Funds Payment:                         0.00                    0.00                  Anticipated Pmts to Escrow:                         4,710.84
 Assistance Payment (-):                      0.00                    0.00                  Anticipated Pmts from Escrow (-):                   1,341.81
 Reserve Acct Payment:                        0.00                    0.00                  Anticipated Escrow Balance:                         ($116.37)
 Total Payment:                              $942.89                    $942.15



                     Payments to Escrow            Payments From Escrow                                        Escrow Balance
       Date          Anticipated   Actual          Anticipated     Actual             Description              Required       Actual
                                                                                 Starting Balance           578.87              (4,270.54)
     Jul 2020            381.47        392.57                                  *                            960.34              (3,877.97)
     Aug 2020            381.47        392.57                                  *                          1,341.81              (3,485.40)
     Sep 2020            381.47                       1,341.81                 * County Tax                 381.47              (3,485.40)
                                                                                 Anticipated Transactions   381.47              (3,485.40)
     Aug 2020                   4,318.27                                                                                           832.87
     Sep 2020                     392.57                           1,341.81      County Tax                                       (116.37)
                     $1,144.41 $5,495.98           $1,341.81      $1,341.81

     An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
     our toll-free number.


     Last year, we anticipated that payments from your account would be made during this period equaling 1,341.81. Under
     Federal law, your lowest monthly balance should not have exceeded 762.94 or 1/6 of the anticipated payment from the
     account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
     silent on this issue.




                                                                                                                                             Page 1
          Case 17-82896              Doc       Filed 08/25/20        Entered 08/25/20 13:35:30 Final
                                                     SN Servicing Corporation                    Desc Main
                                                   Document          Page   4 of
                                                    For Inquiries: (800) 603-0836
                                                                                 7
                                        Main Office- NMLS ID #5985, Branch Office- NMLS ID #9785
 Analysis Date: August 20, 2020

 BRIAN PERINA                                                                                                    Loan:

                                           Annual Escrow Account Disclosure Statement
                                                  Projections for Coming Year

This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
from your account.


   Date              Anticipated Payments                                                                  Escrow Balance
                     To Escrow From Escrow               Description                                 Anticipated      Required
                                                         Starting Balance                              (116.37)         391.78
Oct 2020                391.83                                                                          275.46          783.61
Nov 2020                391.83                                                                          667.29        1,175.44
Dec 2020                391.83                                                                        1,059.12        1,567.27
Jan 2021                391.83                                                                        1,450.95        1,959.10
Feb 2021                391.83                                                                        1,842.78        2,350.93
Mar 2021                391.83                                                                        2,234.61        2,742.76
Apr 2021                391.83                                                                        2,626.44        3,134.59
May 2021                391.83                                                                        3,018.27        3,526.42
Jun 2021                391.83       1,390.10            County Tax                                   2,020.00        2,528.15
Jun 2021                             1,970.00            Homeowners Policy                               50.00          558.15
Jul 2021               391.83                                                                           441.83          949.98
Aug 2021               391.83                                                                           833.66        1,341.81
Sep 2021               391.83        1,341.81            County Tax                                    (116.32)         391.83
                    $4,701.96       $4,701.91

(Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
Your escrow balance contains a cushion of 391.83. A cushion is an additional amount of funds held in your escrow
balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
Federal law, your lowest monthly balance should not exceed 783.65 or 1/6 of the anticipated payment from the account,
unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
this issue.

Your ending balance from the last month of the account history (escrow balance anticipated) is (116.37). Your starting
balance (escrow balance required) according to this analysis should be $391.78. This means you have a shortage of 508.15.
This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to do nothing.

 We anticipate the total of your coming year bills to be 4,701.91. We divide that amount by the number of payments expected during
 the coming year to obtain your escrow payment.




                                                                                                                                    Page 2
             Case 17-82896           Doc      Filed 08/25/20         Entered 08/25/20 13:35:30              Desc Main
    New Escrow Payment Calculation                Document           Page 5 of 7
    Unadjusted Escrow Payment                      391.83
    Surplus Amount:                                  0.00
    Shortage Amount:                                 0.00
    Rounding Adjustment Amount:                      0.00
    Escrow Payment:                               $391.83




   NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
   premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
   the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
   payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
   Street, Eureka, Ca 95501 or 800-603-0836.

* Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
or return in the self-addressed envelope.




                                                                                                                            Page 3
   Case 17-82896         Doc       Filed 08/25/20   Entered 08/25/20 13:35:30      Desc Main
                                       Document     Page 6 of 7



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  WESTERN DIVISION

 In Re:                                             Case No. 17-82896

 Brian K Perina
                                                    Chapter 13
 Suzanne Marie Perina

 Debtors.                                           Hon. Judge Thomas M. Lynch

                                   CERTIFICATE OF SERVICE

The undersigned, an attorney, hereby certifies that I have served a copy of this Notice of Mortgage
Payment Change upon the above-named parties by electronic filing or, as noted below, by
placing same in a properly addressed and sealed envelope, postage prepaid, and depositing it in the
United States Mail at 394 Wards Corner Rd., Suite 180, Loveland, OH 45140 on August 25,
2020, before the hour of 5:00 p.m.

          Nathan E Curtis, Debtors’ Counsel
          ndil@geracilaw.com

          Jason K Nielson, Debtors’ Counsel
          ndil@geracilaw.com

          Lydia Meyer, Trustee
          ecf@lsm13trustee.com

          Patrick S Layng, U.S. Trustee
          USTPRegion11.MD.ECF@usdoj.gov

          Brian K Perina, Debtor
          1811 River Terrace Dr
          Unit
          Johnsburg, IL 60051

          Suzanne Marie Perina, Debtor
          1811 River Terrace Dr
          Unit
          Johnsburg, IL 60051
  Case 17-82896     Doc   Filed 08/25/20   Entered 08/25/20 13:35:30    Desc Main
                              Document     Page 7 of 7



Dated: August 25, 2020                     Respectfully Submitted,

                                           /s/ Molly Slutsky Simons
                                           Molly Slutsky Simons (OH 0083702)
                                           Sottile & Barile, Attorneys at Law
                                           394 Wards Corner Road, Suite 180
                                           Loveland, OH 45140
                                           Phone: 513.444.4100
                                           Email: bankruptcy@sottileandbarile.com
                                           Attorney for Creditor
